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                       EXHIBIT E
                   to Declaration of Nilay Vora
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    7 Telephone: (310) 201-2100
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    8
        Attorneys for Movant Dr. Linda R.
    9
   10                              UNITED STATES DISTRICT COURT
   11               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 IN RE SEARCH AND SEIZURE OF                       CASE NO. 2:21-cv-03554
      BOX NO. 8309 AT U.S. PRIVATE
   14 VAULTS                                            DECLARATION OF NICOLE R.
                                                        VAN DYK IN SUPPORT OF FIRST
   15
                          Plaintiff,                    AMENDED COMPLAINT
   16                                                   (MOTION) FOR RELIEF UNDER
   17 UNITED STATES OF AMERICA,
                                                        FED. R. CRIM. PRO. 41;
                                                        REQUESTING MISSING
   18                     Defendant,                    PROPERTY AND INVENTORY
   19                                                   AND RECORDS

   20                                                   Assigned to Hon. R. Gary Klausner
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                    DECLARATION OF NICOLE R. VAN DYK IN SUPPORT OF FIRST AMENDED COMPLAINT
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    1                          DECLARATION OF NICOLE R. VAN DYK
    2               I, Nicole R. Van Dyk, declare as follows:
    3               1.    I am an active member of the Bar of the State of California and a
    4 Principal with Bird, Marella, Boxer, Wolpert, Nessim, Drooks, Lincenberg & Rhow,
    5 A Professional Corporation, attorneys of record for Movant Dr. Linda R. in this
    6 action. I make this declaration in support of the First Amended Complaint (Motion)
    7 for Relief Under Federal Rule of Criminal Procedure 41; Requesting Missing
    8 Property and Inventory and Records. Except for those matters stated on information
    9 and belief, I make this declaration based upon personal knowledge and, if called
   10 upon to do so, I could and would so testify.
   11               2.    Dr. R. is a semi-retired octogenarian who lives in the Los Angeles area.
   12 When Dr. R. and I met with agents from the FBI to receive her property, she
   13 explained to us that she had invested her retirement savings in a collection of gold
   14 and silver coins for more than two decades, which she stored in recent years in Box
   15 8309 at the U.S. Private Vaults (“USPV”) facility at 9182 West Olympic Blvd. in
   16 Beverly Hills, along with cash. Dr. R. also explained that she utilized her box at
   17 USPV to protect her savings from theft and what she perceived to be instability in
   18 the financial and banking systems. I am informed and believe that as of March
   19 2021, Dr. R.’s box contained a significant portion of her retirement assets, as she
   20 lost her primary source of income from a rental property due to the COVID-19
   21 crisis.
   22               3.    On or around March 22, 2021, the Government seized the contents of
   23 Dr. R.’s USPV box (No. 8309).
   24               4.    I am informed and believe that after the seizure of her property at
   25 USPV, Dr. R. spoke with a government agent and identified herself as the owner of
   26 Box 8309 and provided a detailed description of the contents of that box. In return,
   27 she received a form email saying she would be contacted within two months.
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                    DECLARATION OF NICOLE R. VAN DYK IN SUPPORT OF FIRST AMENDED COMPLAINT
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    1               5.    Attached hereto as Exhibit A is a true and correct copy of an April 16,
    2 2021, letter sent by my firm to AUSA Andrew Brown regarding Dr. R.’s box at
    3 USPV. Dr. R’s full name in Exhibit A has been redacted by my office to protect Dr.
    4 R’s safety and privacy.
    5               6.    On April 21, 2021, Dr. R. and I met with two agents from the FBI to
    6 obtain the gold and silver coins the Government seized from her box at USPV.
    7 When the agents arrived with Dr. R.’s property, they verified her ownership of Box
    8 8309 by testing her UPSV key to ensure that it opened the lock on the door to Box
    9 8309, which door had been detached from the “nest” of safe deposit boxes and
   10 which the agents had brought with them to the meeting.
   11               7.    The Government has informed me that the cash seized from Dr. R.’s
   12 box was deposited into the Government’s forfeiture account and the cash equivalent
   13 would be wired at a future date. Dr. R. has still not received her cash. Nor has the
   14 Government informed her how much cash they seized.
   15               8.    Attached hereto as Exhibit B is a true and correct copy of the receipt
   16 for Dr. R.’s property that the Government agents gave me on April 21, 2021. Dr.
   17 R.’s name and address as a portion of the Case ID were redacted by my office to
   18 protect Dr. R’s safety and privacy.
   19               9.    In anticipation of meeting with the agents, and to ensure the return of
   20 all of the property that had been contained in her box, Dr. R. prepared a detailed list
   21 of each type of coin she believed she had in her box at the time it was seized, along
   22 with the amount of each type. On April 21, 2021, she and I used that list to count
   23 the coins returned by the agents, with their assistance, and discovered that at least
   24 forty 1 oz. Gold American Eagle coins, with an estimated value of about $75,000,
   25 were missing.
   26               10.   At the conclusion of the review, the agents amended the property
   27 receipt to reflect Dr. R.’s claim for the missing coins. They also assured Dr. R. and
   28 me that the search, seizure, and inventory of Dr. R.’s property were well

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    1 documented by photographs and video. The agents stated that due to the sheer
    2 number of boxes at USPV, the agents conducting the search and seizure process had
    3 to use general, rather than detailed, descriptions in the written inventories as the
    4 search went on. The agents also stated that the description of the property on the
    5 property receipt was copied from the property inventory per FBI policy.
    6               11.   Attached hereto as Exhibits C and D are true and correct copies of
    7 letters sent from my office to Andrew Brown on April 21 and 22, 2021,
    8 respectively. Dr. R’s full name has been redacted by my office to protect Dr. R’s
    9 safety and privacy
   10               12.   Attached hereto as Exhibit E is true and correct copy of a portion of
   11 the affidavit related to USPV that addresses the inventory process of the material in
   12 the safe deposit boxes at USPV.
   13               13.   Attached hereto as Exhibit F is a true and correct copy of the seizure
   14 warrant related to the seizure of the “nests” of safe deposit boxes at USPV and a
   15 copy of the inventory filed in connection with that warrant.
   16               14.   In addition to Dr. R., my firm represents another retiree who kept
   17 retirement funds in gold and silver in a box at USPV. When the Government
   18 returned his possessions, the receipt’s description of the property stated in its
   19 entirety, “various miscellaneous documents, and various silver and gold colored
   20 coins.”
   21               15.   On May 3, 2021, Mr. Brown provided to me two video files he claimed
   22 represented the video inventory of Dr. R.’s box. He requested by email that counsel
   23 for Dr. R. review the videos and then dismiss Dr. R.’s suit. Attached hereto as
   24 Exhibit G is a true and correct copy of the May 3, 2021 email from Mr. Brown to
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                    DECLARATION OF NICOLE R. VAN DYK IN SUPPORT OF FIRST AMENDED COMPLAINT
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    1 me. Dr. R.’s full name in Exhibit G has been redacted by my office to protect Dr. R.’s
    2 safety and privacy.
    3               I declare under penalty of perjury under the laws of the United States of
    4 America that the foregoing is true and correct, and that I executed this declaration
    5 on May 17, 2021, at Los Angeles, California.
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                                                        Nicole R. Van Dyk
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                    DECLARATION OF NICOLE R. VAN DYK IN SUPPORT OF FIRST AMENDED COMPLAINT
